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                                                                           2005 Jan-07 PM 03:15
                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION


GLENN MILLER,                         )
                                      )
                  Petitioner,         )
                                      )
vs.                                   )   CIVIL ACTION NO. 02-LSC-RRA-8063-S
                                      )   CRIMINAL ACTION NO. 00-N-0347-S
UNITED STATES OF AMERICA,             )
                                      )
                  Respondent.         )


                          MEMORANDUM OPINION


      The court has considered the entire file in this action, together with

the Magistrate Judge's Report and Recommendation and the objections of the

petitioner, and has reached an independent conclusion that the Report and

Recommendation is due to be adopted and approved. The court hereby

adopts and approves the findings and recommendation of the magistrate

judge as the findings and conclusions of the court. In accord with the

recommendation, this motion to vacate, set aside, or correct is due to be

denied. An appropriate order will be entered.

      Done this   7th   day of January 2005.
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                                    L. SCOTT COOGLER
                               UNITED STATES DISTRICT JUDGE
